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                                   STATEMENT OF FACTS

        Your affiant, Jhoan Sebastian Cummings, is a Special Agent with the Federal Bureau of
Investigation assigned to the Joint Terrorism Task Force. In my duties as a special agent, I have
participated in investigations during the course of which I have conducted physical surveillance,
interviewed witness, executed court-authorized search warrants, and used other techniques to
secure relevant information. Currently, I am a tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                   Identification of Antonio Ferrigno and Francis Connor’s
                          Involvement in Offenses of January 6, 2021

        ANTONIO FERRIGNO JR (hereinafter FERRIGNO) is a 26-year-old male and
FRANCIS CONNOR (hereinafter CONNOR) is a 23-year old male, who both reside in Brooklyn,
New York. As discussed in detail below, FERRIGNO and CONNOR appear to have traveled to
Washington, D.C., from New York City on or about January 6, 2021, and participated in the rioting
at the Capitol, along with another charged defendant Anton Lunyk.

        Lunyk currently has a pending case in D.C. District Court based on his involvement in the
events of January 6, 2021. Pursuant to search warrants for Lunyk’s Instagram account and Lunyk’s
cell phone, law enforcement identified additional evidence of FERRIGNO and CONNOR’S
involvement in the events of January 6, as described in greater detail below.

        Image 1 below is a photo taken from defendant Lunyk’s Instagram, reviewed pursuant to
a search warrant. Image 1 appears to capture CONNOR (circled in blue) and FERRIGNO (circled
in red) standing inside the U.S. Capitol with defendant Lunyk.

Image 1




       According to Instagram records, Lunyk sent above Image 1 to Instagram users later
determined to be FERRIGNO and CONNOR.




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       Law enforcement subsequently identified FERRIGNO and CONNOR, based on a review
of records from Lunyk’s Instagram account that were obtained through a search warrant. For
FERRIGNO, the Instagram records included a user ID of 144326588 and Username aferrigno13
as “Antonio Ferrigno”.

        Law enforcement subsequently obtained additional Instagram records for UID 144326588
and username aferrigno13, which provided a registered user of “Antonio Ferrigno”, vanity name
of “antt.ferrigno”, a registered email address of avferrigno@gmail.com and a telephone number of
ending in -3187. 1

        For CONNOR, Lunyk’s Instagram records included a user ID of 364765536 and username
“francisconnor”. Law enforcement subsequently obtained additional Instagram records for UID
364765536 and username “francisconnor” and the records provided a registered email address:
fconnor1986@gmail.com. Google LLC provided records for fconnor1986@gmail.com, and the
records showed that the registered user is Francis Connor with recovery email address
ftconnor1@verizone.net and telephone number ending in -6980. 2

        Images 2, 3, and 4 are screenshots from a live streaming video streamed by defendant
Anthime Gionet aka “Baked Alaska”. Law enforcement reviewed the live streaming video and
identified the location of FERRIGNO and CONNOR as within the designated working space of a
United States Senator. Images 2 and 3 show FERRIGNO (circled in red) wearing a blue hat.
Image 4 shows Connor (circled in blue).

Image 2




1
  The full phone number was provided by the Provider, but only the last four digits are included in this statement of
facts.
2
  The full phone number was provided by the Provider, but only the last four digits are included in this statement of
facts.

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Image 3




Image 4




       Law enforcement conducted a manual review of United States Capitol Police (USCP)
closed-circuit television (CCTV). USCP CCTV captures FERRIGNO and CONNOR with
defendant Lunyk inside the Capitol on January 6.

        FERRIGNO appears to be wearing a matching outfit of a navy Trump hat, black jacket,
light blue-ripped jeans, dark colored shoes and a Trump scarf as shown in Images 1, 2, 3 when
compared to the individual captured in USCP CCTV shown in Images 5, 7, and 8.

       CONNOR appears to be wearing a matching outfit of a dark-in-color winter hat, multi-
colored scarf, and boots as shown in Image 1 when compared to the individual captured in USCP
CCTV shown in Images 6, 7, and 8.



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Image 5




Image 6




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Image 7




Image 8




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       Images 5 and 6 are screenshots from the CCTV footage of Senate Wing Door captured on
January 6, 2021, at around 3:08 p.m., with a red circle around FERRIGNO and a blue circle around
CONNOR.

       Images 7 and 8 are screenshots from the CCTV footage of House Wing Door captured on
January 6, 2021, at around 3:12 p.m. FERRIGNO and CONNOR appear to be walking with
defendant Lunyk.

        Lunyk’s Instagram account further contained messages between CONNOR and Lunyk. As
explained above, records reveal that Intagram user “francisconnor” is suspect CONNOR. Lunyk
sent “francisconnor” the photo seen in Image 1 above. Instagram user “francisconnor” replied
stating, “I was in the Capitol building.” Image 9 below is a screenshot of these Instagram
messages.

Image 9




      Pursuant to a search warrant, law enforcement obtained defendant Anton Lunyk’s text
messages. Messages between Lunyk and “Antonio Ferrigno” and “Francis” further corroborate
FERRIGNO and CONNOR’s presence in the U.S. Capitol on January 6.

        Law enforcement conducted a manual review of defendant Anton Lunyk’s cell phone
pursuant to a search warrant. Upon review, it revealed that the user of a telephone number ending
in -6980) associated with FRANCIS CONNOR, requested a video of himself “jumping” out the
window. ANTONIO FERRIGNO (using the phone number ending in -3187) subsequently sends
a video depicting CONNOR climbing out the Senate Wing Window. FERRIGNO then states,
“maybe if ur clothing wasn’t so distinct people would know it’s u.” Furthermore, FERRIGNO
sends a photograph depicting Anton Lunyk, FRANCIS CONNOR, and ANTONIO FERRIGNO
inside the U.S. Capitol building (Image 1). In response to the images, “Francis” (CONNOR)
subsequently replies “These can’t go anywhere.”

        Further review of defendant Anton Lunyk’s cell phone pursuant to a search warrant return,
revealed text messages from “Antonio Ferrigno” (FERRIGNO) denying his participation in the
riots that took place at the U.S. Capitol. FERRIGNO’S text messages stated the following: “I

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wasn’t in the capitol so idc”, “The footage I have someone air dropped to me” and “That’s not me
I don’t have facial hair.”

      Screenshots of some of these messages between FERRIGNO, CONNOR, and Anton
Lunyk are show below in Images 10 through 18. Because these messages are taken from defendant
Anton Lunyk’s cell phone, the messages from “Me” are presumed to be from Anton Lunyk.

                                           Image 10




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                           Image 11




                           Image 12




                               9
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                            Image 13




                            Image 14




                            Image 15




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                            Image 16




                            Image 17




                               11
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                                                       Image 18




       The above shown text messages sent by “Antonio Ferrigno” were sent using the phone
number ending in -3187. Law enforcement records indicate that telephone number ending in -
3187 is associated with FERRIGNO.

       The above shown text messages sent by “Francis” were sent using the phone number
ending in -6980. Law enforcement records indicate that telephone number ending in -6980 is
associated with CONNOR.

        According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone associated with the phone
number ending in -69803 was identified as having utilized a cell site consistent with providing
service to a geographic area that includes the interior of the United States Capitol building. As
discussed above, this phone number is associated with CONNOR.4

       Law enforcement reviewed Department of Motor Vehicle records and photos for
FERRIGNO and CONNOR, and when compared to the above Image 1 and CCTV, the Subjects
appear to be those same individuals.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
ANTONIO FERRIGNO JR and FRANCIS CONNOR violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

3
    The full phone number was provided by the Provider, but only the last four digits are included in this statement.
4
    Based on information available to law enforcement, both FERRIGNO and LUNYK used T-Mobile.

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        Your affiant submits there is also probable cause to believe that FERRIGNO and
CONNOR violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                     _________________________________
                                                     Jhoan Sebastian Cummings
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of August 2021.
                                                                           2021.08.27
                                                                           17:42:36 -04'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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